
VICTOR E. SHAW, J., pro tem.
This is an appeal from a judgment and decree foreclosing a mortgage upon real estate, wherein the sole and only errors alleged to have been committed were in rulings of the court upon the admission and rejection of evidence offered.
The attorneys have stipulated as to the correctness of the judgment:roll, copy of which appears in the transcript, which also contains some printed matter designated by appellants as “a statement of the case,” which, no doubt, was intended as a bill of exceptions to exhibit the alleged errors of which counsel complain. This so-called statement, however, is not made the subject of stipulation nor is it authenticated in any manner whatsoever. Hence, there is no record upon which this court can say that error was committed as claimed by appellants.
The judgment is affirmed.
Wilbur, J., and Melvin, J., concurred.
